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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


 TREY GREENE, individually and on               Case No. 2:23-cv-01165-KM-LDW
 behalf of all others similarly situated,

                       Plaintiff,               [PROPOSED] ORDER
                                                FOR PRO HAC VICE ADMISSION
                 v.                             OF JEREMY A. LIEBERMAN

 ZAC PRINCE, FLORI MARQUEZ,
 TONY LAURA, JENNIFER HILL and
 GEMINI TRADING, LLC,

                       Defendants.


          This matter having come before the Court on the application of Pomerantz

LLP ["movant"], attorneys for Cameron Wyatt, for the pro hac vice admission of

Jeremy A. Lieberman ["counsel"], pursuant to Local Civil Rule 101.1(c); and the

Court having considered the certification and the declaration submitted in support of

the application, which reflect that counsel satisfy the requirements set forth in Local

Civil Rule 101.1 (c)(l); and for good cause shown,

          IT IS ON THIS _ _ _ _ day of _ _ _ _ _ _ _ _ , 20 _ _

          ORDERED that the application for the pro hac vice admission of counsel is

granted;




{00549830; 1 }                              1
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          IT IS FURTHER ORDERED that counsel shall abide by all rules of this

Court, including all disciplinary rules, and shall notify the Court immediately of any

matter affecting counsel's standing at the bar of any court;

          IT IS FURTHER ORDERED that the movant shall: (a) be attorney of record

in this case in accordance with Local Civil Rule 101.1 (c)( 4); (b) be served all papers

in this action and such service shall be deemed sufficient service upon counsel; (c)

sign (or arrange for an attorney of the firm to sign) all pleadings, briefs, and other

papers submitted to this Court; and (d) be responsible for the conduct of the cause

and counsel in this matter;

          IT IS FURTHER ORDERED that counsel shall make payment to the New

Jersey Lawyers' Fund for Client Protection, pursuant to N.J. Court Rule 1:28-2(a),

for each year in which counsel represents the client in this matter; and

          IT IS FURTHER ORDERED that counsel shall pay $150.00 to the Clerk of

the Court, pursuant to Local Civil Rule 101.1.(c)(3).


 Dated: - - - - - - - -, 2023



                                            The Honorable Kevin McNulty
                                            United States District Judge
                                            District of New Jersey




{00549830; I }                             2
